                       THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                             Civil Action No. 5:22-cv-71

 MICHAEL MCGUIRE and                             )
 ADELINA MCGUIRE,                                )
                                                 )
        Plaintiffs,                              )
                                                 )
 vs.                                             )
                                                             NOTICE OF REMOVAL
                                                 )
 BERGER TRANSFER & STORAGE, INC.                 )
 and ALLIED VAN LINES, INC.,                     )
                                                 )
        Defendants.                              )

______________________________________________________________________________

       The defendants, Berger Transfer & Storage, Inc. (“Berger”) and Allied Van Lines, Inc.

(“Allied”) (collectively “Defendants”), by and through their undersigned counsel, hereby give

notice of removal of this matter from the General Court of Justice, District Court Division, County

of Lincoln, North Carolina to the United States District Court for the Western District of North

Carolina. Defendants state the following grounds in support of removal:

       1.      On or about April 25, 2022, Plaintiffs Michael McGuire (“Michael”) and Adelina

McGuire (“Adelina”) (collectively “Plaintiffs”) filed suit against Defendants seeking to recover

damages arising from Plaintiffs’ interstate move from Luck, Wisconsin to Lincolnton, North

Carolina. See Plaintiffs’ Original Complaint (Exhibit 1B). The lawsuit is styled: Michael McGuire

and Adelina McGuire v. Berger Transfer & Storage, Inc. and Allied Van Lines, Inc.; is assigned

the following cause number: 22CV000499; and is filed in the General Court of Justice, District

Court Division, County of Lincoln, North Carolina. A copy of the Summons and Complaint,

together with all other process and pleadings served upon the defendant in the State Court Action,

are attached hereto as Exhibit 1.

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        2.     Defendants’ first receipt of Plaintiffs’ Original Complaint was through service of

process on or about April 28, 2022. Apart from the documents reflected in Exhibit 1 no other

pleadings have been filed.

        3.   This Notice of Removal is filed within thirty (30) days of Defendants’ first notice or

receipt of Plaintiffs’ Original Complaint and is therefore timely filed pursuant to 28 U.S.C. §

1446(b). Both Allied and Berger consent to removal.

        4.   Removal of a civil action from state court to federal court is governed by 28 U.S.C. §

1441, et seq. Section 1441(a) states:

        Any civil action brought in a State court of which the district courts of the United
        States have original jurisdiction, may be removed by the defendant or the
        defendants to the district court of the United States for the district and division
        embracing the place where such action is pending.

Federal courts have original jurisdiction over federal questions, such as those involving federal

laws like the Carmack Amendment here. See 28 U.S.C. § 1331. (“The district courts shall have

original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United

States.”).

        This Court has original, federal-question jurisdiction over Plaintiffs’ claims because they

are completely preempted by the Carmack Amendment. See 28 U.S.C. § 1331; Hoskins v. Bekins

Van Lines, 343 F.3d 769, 778 (5th Cir. 2003); 5K Logistics, Inc. v. Daily Exp., Inc., 659 F.3d 331,

335 (4th Cir. 2011). The Carmack Amendment, codified at 49 U.S.C. § 14706, governs liability

of those who provide transportation services in interstate commerce within the jurisdiction of the

Surface Transportation Board, and claims for loss or damage to shipments moved in interstate

commerce. See Shao v. Link Cargo (Taiwan) Ltd., 986 F.2d 700, 704 (4th Cir. 1993) (discussing

that the Carmack Amendment creates “a national scheme of carrier liability for goods damaged or

lost during interstate shipment under a valid bill of lading.”).

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       Generally, to be the basis for a proper removal, a federal question must appear on the face

of a well-pleaded complaint. Rivet v. Regions Bank of La., 522 U.S. 470, 475 (1998); PCI Transp.,

Inc. v. Fort Worth & W.R. Co., 418 F.3d 535, 543 (5th Cir. 2005); Ultraflo Corp. v. Pelican Tank

Parts, Inc., 823 F. Supp. 2d 578, 583 (S.D. Tex. 2011); Advanced Sterilizer Dev. & Design, Inc.

v. Roadway Express, Inc., No. 1:02CV 285, 2002 WL 31165144, at *2 (M.D.N.C. Aug. 21, 2002).

Under the well-pleaded complaint rule, “federal jurisdiction exists only when a federal question is

presented on the face of Plaintiffs’ properly pleaded complaint.” Caterpillar Inc. v. Williams, 482

U.S. 386, 392 (1987). However, under the complete-preemption doctrine (a corollary to the well-

pleaded complaint rule), removal is proper if federal legislation is so complete that it entirely

supplants the state-law claims. Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58, 63–64 (1987);

see also Pinney v. Nokia, Inc., 402 F.3d 430, 449 (4th Cir. 2005) (discussing that the doctrine of

complete preemption “converts an ordinary state common law complaint into one stating a federal

claim,” citing Metro. Life Ins. Co. v. Taylor, 481 U.S. 58, 64 (1987), and that the federal claim is

deemed to appear on the face of the complaint, citing Darcangelo v. Verizon Communications,

Inc., 292 F.3d 181, 187 (4th Cir. 2002)); see also Advanced Sterilizer, 2002 WL 31165144, at *2

(discussing that a corollary to this rule “allows removal where federal law completely preempts an

asserted state-law claim.”) (quoting Rivets v. Regions Bank of La., 522 U.S. 470, 475–76 (1998)).

       Although state-law claims are typically not federal questions, when federal law completely

preempts them, they are rendered “federal in nature.” Ultraflo, 823 F. Supp. 2d at 583 (quoting

Franchise Tax Board of Cal. v. Construction Laborers Vacation Trust for Southern Cal., 463 U.S.

1, 24 (1983)); see also Pinney, 402 F.3d at 449. A completely preempted state-law claim is

considered federal from its inception. Ultraflo, 823 F. Supp. 2d at 583 (quoting Caterpillar Inc.

v. Williams, 482 U.S. 386 (1987)); see also Pinney, 402 F.3d at 449. State and common law claims



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involving loss or damage to goods during interstate transportation are completely preempted under

the Carmack Amendment. Hoskins v. Bekins Van Lines, 343 F.3d 769, 778 (5th Cir. 2003) (The

Carmack Amendment is “the exclusive cause of action for loss or damages to goods arising from

the interstate transportation of those goods by a common carrier.” (emphasis in original)); see

also Advanced Sterilizer, 2002 WL 31165144, at *2. Where, as here, a plaintiff files suit in state

court and asserts state-law claims to recover damages related to loss or damage to household goods

arising from an interstate shipment, such claims are completely preempted by the Carmack

Amendment and a defendant may remove the same to federal court. See Advanced Sterilizer, 2002

WL     31165144,     at   *2   (“If   Plaintiffs’       claim   does   meet   the   requirements   of

the Carmack Amendment, then federal preemption requires the Court to treat the action as one

arising under federal law and Defendant’s removal of the action would be proper.”).

       5. Here, Plaintiffs’ claims against Defendants stem from Plaintiffs’ interstate move from

Luck, Wisconsin to Lincolnton, North Carolina pursuant to a shipping contract between Plaintiffs

and Defendants. Exhibit 1B at 2, ¶6. Specifically, Plaintiffs allege that they entered into a contract

with Defendants “for the service of moving personal property” from Wisconsin to North Carolina.

Id. Plaintiffs further allege that, “[o]n April 23, 2018, Defendants came to the Plaintiff’s home …

to begin packing items and moving the items.” Id. at ¶15. The items were to be delivered to

Plaintiffs’ in North Carolina in June 2018. See id. at ¶18. Defendants allegedly delivered the items

on June 12, 2018. Id. at ¶19. Plaintiffs allege that, after unpacking the items, they “discovered

damages [and] missing items.” Id. at 3, ¶26. Thus, Plaintiffs’ alleged damages arise solely from

the alleged loss and/or damage to household goods occurring during interstate transit via a motor

carrier. As a result, Plaintiffs’ claims are completely preempted by, subject to, and governed by




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the Carmack Amendment to the Interstate Commerce Act (the “Carmack Amendment”). See 49

U.S.C. §§ 14706, 13501(1).

       Although Plaintiffs have pled state-law claims for breach of contract, negligence, bad faith

breach of insurance contract, and unfair and deceptive trade practices, see Exhibit 1B at 4-6.

Plaintiffs’ lawsuit stems from the alleged loss or damage to household goods shipped interstate

from Wisconsin to North Carolina.        Therefore, Plaintiffs’ state-law claims are completely

preempted by the Carmack Amendment, and Plaintiffs’ action is in fact “federal in nature” and

qualifies as a federal question on its face. See Hoskins, 343 F.3d at 778; see also Advanced

Sterilizer, 2002 WL 31165144, at *2–4. Thus, Plaintiffs’ claims, and this action, are removable

under 28 U.S.C. § 1441. See Advanced Sterilizer, 2002 WL 31165144, at *2–4 (discussing that

removal is proper where the Carmack Amendment completely preempts a party’s state law

claims).

       9.      Title 28 U.S.C. § 1337(a) grants original jurisdiction only to Carmack Amendment

cases exceeding $10,000 in controversy. In other words, Carmack Amendment cases are not

removable “unless the matter in controversy exceeds $10,000 exclusive of interest and costs.” 28

U.S.C. § 1445(b). Here, Plaintiffs allege that they seek monetary relief “in an amount in excess

of ten thousand dollars.” Exhibit 1B at 3. Thus, Plaintiffs’ claims for damages exceed the minimal

jurisdictional value of $10,000, as required by 28 U.S.C. § 1337(a) and 28 U.S.C. § 1445(b).

       10.   In summary, Plaintiffs’ state-law claims against Defendants arise from the interstate

transportation of Plaintiffs’ household goods by a motor carrier, which are completely preempted

by federal law; and Plaintiffs’ claims exceed $10,000, and thus qualify for removal under 28 U.S.C.

§§ 1337(a) and 1445(b). Therefore, this matter is properly removable.




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       11.     Moreover, Plaintiffs could have originally brought their claims for damages in this

Court, as there is federal-question jurisdiction, and venue is proper in this Court.

       12.     Written notice of the filing of this Notice of Removal has been given to all parties

herein, and a copy of this Notice is being filed with the General Court of Justice, District Court

Division, County of Lincoln, North Carolina.

       WHEREFORE, the Defendants respectfully request that the above action now pending

against it in the General Court of Justice, District Court Division, County of Lincoln, North

Carolina, be removed therefrom to this Honorable Court.

       Respectfully submitted, this the 27th day of May 2022.



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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that he is an attorney at law licensed to practice in the
State of North Carolina, is the attorney for the Defendants in this matter, and is a person of such
age and discretion as to be competent to serve process.

       I hereby certify that on May 27, 2022, I electronically filed the foregoing NOTICE OF
REMOVAL with the Clerk of Court using the CM/ECF system and mailed a copy in a first-class
postpaid envelope and addressed to the person hereinafter named, at the place and address stated
below, which is the last known address, and by depositing said envelope and its contents in the
United States Mail at Winston-Salem, North Carolina.

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